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                EXHIBIT A
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                       IN THE COUNTY COURT FOR THE 18TH JUDICIAL CIRCUIT
                               IN AND FOR BREVARD COUNTY, FLORIDA

        Deborah Westfall,

                  Plaintiff,

        V.                                                                         Case No.:

         Creditors Bureau USA,

                  Defendant,
                                                             /

                         STATEMENT OF CLAIM AND DEMAND FOR JURY TRIAL

                  Plaintiff Deborah Westfall ("Plaintiff'), by and tluough her undersigned counsel, seeks

         redress for the unlawful practices of Defendant, Creditors Bureau USA ("Defendant"), to wit, for

         Defendant's violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

         ("FDCPA") and the Florida Consumer Collection Practices Act, Fla. Stat. § 559, et seq.

         ("FCCPA"), and in support thereof, alleges the following:

                                             NATURE OF THE ACTION

             I.       THE FAIR DEBT COLLECTION PRACTICES ACT

             1. The Fair Debt Collection Practices Act (the "FDCPA") is a series of statutes which prohibit

                  a catalog of activities in connection with the collection of consumer debts by debt

                  collectors. See, 15 U.S.C. § 1692, generally. Congress enacted the FDCPA to regulate the

                  collection of consumer debts by debt collectors. The express purposes of the FDCPA are

                  to "eliminate abusive debt collection practices by debt collectors, to insure that debt

                  collectors who refrain from using abusive debt collection practices are not competitively

                  disadvantaged, and to proinote consistent State action to protect consumers against debt

                  collection abuses." 15 U.S.C. § 1692(e).


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     2. In enacting the FDCPA, the United States Congress found that "[t]here is abundant

          evidence of the use of abusive, deceptive, and unfair debt collection practices by many debt

          collectors," which "contribute to the number of personal bankruptcies, to marital

          instability, to the loss of jobs, and to invasions of individual privacy." 15 U.S.C. § 1692(a).

         Congress additionally found existing laws and procedures for redressing debt collection

          injuries to be inadequate to protect consumers. 15 U.S.C. § 1692(b).

     3. Accordingly, the FDCPA imposes civil liability on any person or entity tliat violates its

         provisions, and establishes general standards of debt coliector and provides for specific

          consumer rights. 15 U.S.C. §1692k. The operative provisions of the FDCPA declare

          certain rights to be provided to or claimed by debtors, forbid deceitfitl and misleading

         practices, prohibit harassing and abusive tactics, and proscribe unfair or unconscionable

          conduct, both generally and in a specific list of disapproved practices.

     4. Section 1692c(b) of the FDCPA provides that "[e]xcept as provided in section 1692b of

          this title, without the prior consent of the consumer given directly to the debt collector, or

         the express permission of a court of competent jurisdictiori, or as reasonably necessaiy to

          effecttiate a postjudgment jud.icial remedy, a debt collector may not commiuiicate, in

         connection with the collection of any debt, with any person other than the consumer, his

         attorney, a consumer reporting agency if otherwise pei-rnitted by law, the creditor, the

         attorney of the creditor, or the attorney of the debt collector." i

     5. The FDCPA is a strict liability statute. Taylor v. Perrin, Landry, deLaunay & Durand, 103

         F.3d 1232 (5th Cir. 1997). "Because the Act imposes strict liability, a consumer need not

         show intentional conduct by the debt collector to be entitled to damages." Russell v.



 ~ The exceptions listed in section 1692b of the FDCPA are inapplicable in this case.
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          Equifax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also, Gearing v. Ch.eck Brokerage Corp.,

          233 F.3d 469 (7th Cir. 2000) (holding unintentional misrepresentation of debt collector's

          legal status violated FDCPA).

    6. The FDCPA is a remedial statute, and therefore must be construed liberally in favor of the

          debtor. Spriizkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The remedial

          nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit &

          Collection Services, bzc., 460 F. 3d 1162 (9th Cir. 2006). "Because the FDCPA, like the

          Truth in Lending Act [15 U.S.0 §1601], is a remedial statute, it should be construed

          liberally in favor of the consumer." Johnson v. Riddle, 305 F. 3d 1107 (l Oth Cir. 2002).

    II.      THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

    7. "The Florida Consumer Collection Practices Act is a laudable legislative attempt to curb

          what the Legislature evidently found to be a series of abuses in the area of debtor-creditor

          relations." Harris v. Beneficial Finance Company of Jacksonville, 338 So. 2d 196, 200-

          201 (Fla 1976). The FCCPA is to be construed in a manner that is protective of the

          consumer. See Fla. Stat. § 559.552 (providing that in the event of inconsistencies with the

          FDCPA, the provision that is more protective of the debtor prevails). Moreover, "[u]nlike

          the FDCPA, the [FCCPA] applies not only to debt collectors but to any persons collecting

          a consumer debt." In re Hathcock, 437 B.R. 696, 704 (Bankr. M.D. Fla. 2010); See also

          Heard v. Mathis, 344 So. 2d 651, 654 (Fla. lst DCA 1977) (holding that, the FCCPA

          applied to "a private individual making an oral, non-interest bearing loan to a friend.").

    8. The FCCPA proscribes conduct similar to that prohibited by the FDCPA. Specifically, the

          FCCPA states:

                 In collecting consumer debts, no person shall:



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                  (5) Disclose to a person other than the debtor or her or his family
                  information affecting the debtor's reputation, whether or not for
                  credit worthiness, with kiiowledge or reason to know that the other
                  person does not have a legitimate business need for the information
                  or that the infoi-mation is false.

       Fla. Stat. § 559.72.

    9. In applying and construing the FCCPA, "due consideration and great weight shall be given

       to the interpretations of the Federal Trade Commission and the federal courts relating to

       the federal Fair Debt Collection Practices Act." Fla. Stat. § 559.77(5).

    10.As set forth in more detail below, Defendant's written communications to Plaintiff violate

       the aforementioned and/or foregoing provisions of the FDCPA and FCCPA, thereby giving

       rise to this action and entitling Plaintiff to damages for the same.

                                  JURISDICTION AND VENUE

    11.This is an action for damages greater than $500 but less than $2,500, exclusive of attorney's

       fees and costs.

    12.This action arises out of the Defendant's unlawful conduct, to wit, the acts and/or oinissions

       of the Defendant in attempting to collect a consumer debt fi-om Plaintiff violated the

       FDCPA and FCCPA.

    13.Venue in Brevard County is proper because Plaintiff resides here, the Defendant transacts

       business here, and the complained conduct of Defendant occurred here.

                                                      PARTIES

    14.Plaintiff is natural person, and a citizen of the State of Florida, residing in Brevard County,

       Florida.

    15.Plaintiff is a"consumer" as defined by 15 U.S.C. § 1692a(3) and Fla. Stat. § 559.55(8).

    16.Defendant does business in Florida.

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    17.Defendant holds itself out as a business providing debt collection services and identified

       itself as a debt collector when communicating with Plaintiff.

    18.Defendant uses the telephone, internet and/or mails in a business the principal purpose of

       which is the collection of debts.

    19.Defendant regularly collects or attempts to collect, directly or indirectly, debts owed or due

       or asserted to be owed or due another.

    20. Defendant holds a Consumer Collection Agency License issued by the Florida Office of

       Financial Regulation.

    21. Defendant is a"debt collector" as defined by 15 U.S.C. § 1692a(6) and Fla. Stat. §

       559.55(7).

    22. At all times material, Defendant was acting as a debt collector when communicating with

       Plaintiff.

    23. At all times material hereto, Defendant was subj ect to the FCCPA. See, e.g., Cook v. Blazef•

       Fin. Ser-vices, Inc., 332 So. 2d 677, 679 (Fla. lst Dist. App. 1976) (citing Fla. Stat. §

        1.01(3)).

                                  FACTUAL ALLEGATIONS

    24. Plaintiff is alleged to owe a financial obligation (hereinafter the "Alleged Debt")

    25. The Alleged Debt consists of amounts allegedly due for consumer/personal purchases.

    26. The Alleged Debt is a"debt" as defined by 15 U.S.C. § 1692a(5) as it is a financial

        obligation allegedly incurred by Plaintiff primarily for personal, family or household

        purposes.

    27. On or about July 20, 2021, Defendant caused to be sent a written communication to

        Plaintiff (hereinafter "Defendant's Collection Letter"). A true and correct copy of



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          Defendant's Collection Letter is attached hereto as "Exhibit A".

      28. Defendant's Collection Letter is a"conununication" as defined by 15 U.S.C. § 1692a(2) in

         that Defendant's Collection Letter conveys information regarding the Alleged Debt to

          Plaintiff.

      29. As demonstrated by its form and content, Defendant's Collection Letter is an attempt by

         Defendant to collect the Alleged Debt from Plaintiff.

      30. Upon infoi-mation and belief, Defendant did not generate, print and/or transmit Defendant's

          Collection Letter to Plaintiff. Instead, Defendant outsourced the generation, printing,

         and/or transmission of Defendant's Collection Letter to a third-party vendor (hereinafter

         "Vendor").

      31. In connection with Defendant's above-described outsourcing, Defendant communicated to

         Vendor information regarding Plaintiff's alleged debt including, but not limited to,

         Plaintiffs name, address, status as an alleged debtor, alleged account balance, alleged

         account number, and/or alleged creditor.

      32. Plaintiff did not consent to Defendant's communication with Vendor.

     33. The information communicated to Vendor by Defendant affects Plaintiff's reputation.

     34. All conditions precedent to the filing of this action have occurred or been waived.

                            COUNT I— VIOLATION OF THE FDCPA

     35. Plaintiff re-asserts and re-alleges paragraphs 1 through 34 as if fully restated herein.

     36. As detailed more fully above, Defendant is a debt collector and attempted to collect a

         consumer debt fi-om Plaintiff by and through Defendant's Collection Letter. In doing so,

         Defendant violated the FDCPA, to wit:

               a. Section 1692c(b) by communicating, in connection with the collection of any debt,


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               with any person other than the consumer, his attorney, a consumer reporting agency

               if otherwise permitted by law, the creditor, the attorney of the creditor, or the

               attorney of the debt collector, without Plaintiffs prior consent given directly to

               Defendant. See, e.g., Hunstein v. Prefei-red Collection and Mgt. Services, Inc., 19-

               14434, 2021 WL 1556069 (l lth Cir. Apr. 21, 2021).

    37. Defendant's aforementioned violations of the FDCPA have caused an injury-in-fact to

       Plaintiff that is concrete and particularized in that Plaintiff's statutory t-ight to privacy with

       respect to Plaintiffs financial information has been violated. Hunstein v. Preferred

       Collection and Mgt. Services, Inc., 19-14434, 2021 WL 1556069, at *4 (l lth Cir. Apr. 21,

       2021)("Notably, the FDCPA's statutory findings explicitly identify "invasions of

       individual privacy" as one of the harms against which the statute is directed. 15 U.S.C. §

       1692(a). And to that end, the statutory provision under which Hunstein has sued here

       expressly prohibits a debt collector fi•om "communicat[ing]" with any but a few persons or

       eiitities "in comiection with the collection of any debt." Id. § 1692c(b). Although §

       1692c(b) isn't identical in all respects to the invasion-of-privacy tort, we have no difficulty

       concluding that it bears "a close relationship to a harm that has traditionally been regarded

       as providing a basis for a lawsuit in English or American courts." Spokeo, 136 S. Ct. at

       1549."); Cliurch v. Accretive Health, Inc., 654 Fed. Appx. 990, 995 (llth Cir.

       2016)("Church has alleged that the FDCPA governs the letter at issue, and thus, alleges

       she had a right to receive the FDCPA-required disclosures. Thus, Church has sufficiently

       alleged that she has sustained a concrete—i.e., `real'—injury because she did not receive

       the allegedly required disclosures. The invasion of Church's right to receive the disclosures

       is not hypothetical or uncertain; Church did not receive information to which she alleges


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        she was entitled. While this injury may not have resulted in tangible economic or physical

        harrn that courts often expect, the Supreine Court has made clear an injury need not be

        tangible to be concrete. See Spokeo, Inc., 578 U.S. at           , 136 S.Ct. at 1549; Havens

        Realty Corp., 455 U.S. at 373, 102 S.Ct. 1114. Rather, this injury is one that Congiess has

         elevated to the status of a. legally cognizable injuiy through the FDCPA. Accordingly,

         Church has sufficiently alleged that she suffered a concrete injury, and thus, satisfies the

         injuty-in-fact requirement.")(internal footnotes omitted); McCaniis v. Servis One, Inc.,

         2016 WL 4063403, at *2 (M.D. Fla. July 29, 2016)("Here, Plaintiff alleges a concrete and

         particularized injury in fact: Plaintiff has statutorily-created rights to be free from a debt

         collector's inappropriate attempts to collect a debt [...] and to be free from being subjected

         to false, deceptive, unfair, or unconscionable means to collect a debt. [...] [V]iolation of

         statutory rights is not a`hypothetical or uncertain' injury, but `one that Congress has

         elevated to the status of a legally cognizable injury through the FDCPA. "')(quoting Church

         v. Accretive Health, Inc., 654 Fed. Appx. 990, 995 (l lth Cir. 2016)); Prindle v. Carrington

        Mortg. Services, LLC, 2016 WL 4369424, at *8 (M.D. Fla. Aug. 16, 2016)("Through §

         1692e, Congress identified an existing concrete harm (being subjected to specific abusive

         debt-collection practices) that, by itself, was inadequate at law to establish standing").

     3 8. As a result of Defendant's aforeinentioned FDCPA violations, Plaintiff has suffered actual

         damages, including but not limited to stress, anxiety, frustration, and confusion, whereby

         Plaintiff is entitled to relief for such, in addition to statutory damages and attorney's fees

        and costs.

                             COUNT II — VIOLATION OF THE FCCPA

     39. Plaintiff re-asserts and re-alleges paragraphs 1 through 34 as if fully restated herein.


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     40. As detailed more fully above, Defendant is a debt collector and attempted to collect a

         consumer debt from Plaintiff by and through Defendant's Collection Letter. In doing so,

         Defendant violated the FCCPA, to wit:

               a. Section 559.72(5) by Disclosing to a person other than the Plaintiff or her or his

                  family information affecting the Plaintiff s reputation, whether or not for credit

                  worthiness, with knowledge or reason to know that the other person does not have

                  a legitimate business need for the information or that the information is false.

     41. As a result of Defendant's aforementioned FCCPA violations, Plaintiff has suffered actual

         damages, including but not limited to fear, stress, confusion, deception, anxiety and worry,

         whereby Plaintiff is entitled to relief for such, in addition to statutory damages, attorney's

         fees and costs.

                                    DEMAND FOR JURY TRIAL

     42. Plaintiff respectfully demands a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

  Defendants, awarding Plaintiff the following relief:

         (a)      Statutory and actual damages, as provided under 15 U.S.C. § 1692k, for the FDCPA
                  violations coinmitted by Defendant in attempting to collect the Alleged Debt;

         (b)      Statutoiy and actual damages, as provided under Fla. Stat. § 559.77(2), for the
                  FCCPA violations committed by Defendant in attempting to collect the Alleged
                  Debt;

         (c)      An injunction prohibiting Defendant fi-om engaging in further collection activities
                  directed at Plaintiff that are in violation of the FCCPA;

         (d)      A declaration that Defendant's collection effort as detailed lierein violate the
                  FCCPA;

         (e)      Costs and reasonable attorneys' fees as provided by both 15 U.S.C. §1692k and

                                           _
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              Fla. Stat. § 559.77(2); and

        (f)   Any other relief that the Court deems appropriate and just under the circumstances.

  DATED: September 28, 2021


                                                   Respectfully submitted by:

                                                   /s/ Benjamin W. Raslavich
                                                   BENJAMIN W. RASLAVICH, ESQ.
                                                   Florida Bar No.: 0102808
                                                   KUHN RASLAVICH, P.A.
                                                   2110 West Platt Street
                                                   Tampa, Florida 33606
                                                   Telephone: (813) 422 — 7782
                                                   Facsimile: (813) 422 — 7783
                                                   ben@theKRfirm.com
                                                   Counsel for Plaintiff




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                       Exhibit A.
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          Professional Debt Collection Agency                                                                                            12-17-19
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                                                                                         _
                    Monday - Friday t3:30am to 5:30pm                                ~          Total Due             !                   S660.25
                            (866) 919-1345




DEBORAH B WESTFALL

Your medical provider, QUEST DIAGNOSTICS, has assigned the above past due account to Creditors Bureau USA for collection. These
services were rendered on your behalf at the special request of your physician or medical sernrice provider. Your Creditor's records indicate that
this debt is unpaid and due. Please pay in full or contaot our office for payment arrangements.
Unless you notify this office vnthin 30 days after receiving this notice that you dispute the validity of this debt or any porion thereof, this office vaill
assume this debt is valid. If you notify this office rn writing within 30 days from receiving this notice that you dispute the validity of this debt or any
portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such ludgment or verification.
If you request this office in writing v,rithin 30 days after receiving this notice, this office will provide you with the name and address of the original
creditor, if different ffom the current creditor.
This communication is from a debt eollector. This is an aftempt to collect a debt and any information obtained will be used for that purpose. Our
office may use call monitoring and/or recording for improved customer service.
Thank you,
Maggie Anderson, Debt Coltector




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                   POST OFFICE BOX 942                                                           ~   Please make check payable to Creditors Bureau USA
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                   MELBOURNE, FL 32934-7577                                                    P.O. BOX 942
                                                                                               FRESNO, CA 93714-0942


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